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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE


             In re:                                                          Chapter 11

             ICON AIRCRAFT, INC., et al., 1                                  Case No. 24-10703 (CTG)

                                       Debtors.                              (Jointly Administered)

                                                                             Docket Ref. No. 83


                  NOTICE OF (I) POTENTIAL ASSUMPTION AND ASSIGNMENT OF
             EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND (II) CURE AMOUNTS

                 You are receiving this notice because you may be a counterparty to a contract or lease
         with ICON Aircraft, Inc., Rycon LLC, IC Technologies Inc., and/or ICON Flying Club, LLC.
         Please read this notice carefully as your rights may be affected by the transactions described
         herein.

         PLEASE TAKE NOTICE OF THE FOLLOWING:

                1.      On April 17, 2024, the above-captioned debtors and debtors-in-possession
         (the “Debtors”) filed a motion seeking approval of the Bidding Procedures for the sale of certain of
         the Debtors’ assets (the “Assets”) and approval of the sale such Assets (the “Bidding Procedures
         and Sale Motion”) to the highest or best qualified bidder (the “Successful Bidder”). The Debtors
         have sought the approval of the Bankruptcy Court (as defined below) of the proposed Bidding
         Procedures and the form of this notice at a hearing to be held on May 8, 2024 at 10:00 a.m.
         (prevailing Eastern Time). The Debtors have further requested that a hearing to approve the sale
         of the Assets (the “Sale Hearing”) for June 18, 2024, at 10:00 a.m. (ET) (prevailing Eastern
         Time) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);
         provided that the Sale Hearing shall be adjourned to June 27, 2024 at 10:00 a.m. (prevailing
         Eastern Time) if (i) the Successful Bidder is not the Stalking Horse Bidder and is an insider or (ii)
         any proposed Sale seeks to transfer estate causes of action.

                 2.      Pursuant to the Bidding Procedures and Sale Motion, the Debtors may potentially
         assume and assign to the Successful Bidder one or more of those executory contracts and unexpired
         leases listed on Schedule A annexed hereto (collectively, the “Potentially Assigned Agreements”
         and each, a “Potentially Assigned Agreement”), pursuant to section 365 of the Bankruptcy Code.




         1
               The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
               number, are: ICON Aircraft, Inc. (7443); Rycon LLC (5297); IC Technologies Inc. (7918); and ICON Flying
               Club, LLC (6101). The Debtors’ service address is 2141 ICON Way, Vacaville, CA 95688.
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                 3.     The Debtors have indicated on Schedule A annexed hereto the cure amounts, if any,
         that the Debtors believe must be paid to cure any prepetition defaults and pay all amounts accrued
         under the Potentially Assigned Agreements (in each instance, the “Cure Amount”).

                 4.     Any party seeking to object to the validity of the Cure Amount as determined by
         the Debtors or otherwise assert that any other amounts, defaults, conditions or pecuniary losses
         must be cured or satisfied under any of the Potentially Assigned Agreements in order for such
         contract or lease to be assumed and assigned, must file an objection
         (the “Assumption/Assignment Objection”) that (i) is in writing, (ii) sets forth the specific
         monetary amount the objector asserts to be due, and the specific types of the alleged defaults,
         pecuniary losses, accrued amounts and conditions to assignment and the support therefor, (iii) is
         filed with the Clerk of the Bankruptcy Court and (iv) is served on (a) counsel to the Debtors,
         Sidley Austin LLP, 1999 Avenue of the Stars, Los Angeles, CA 90067 (Attn.: Sam Newman
         (sam.newman@sidley.com), Charles Persons (cpersons@sidley.com), Jeri Leigh Miller
         (jeri.miller@sidley.com) and Nathan Elner (nelner@sidley.com)); (b) co-counsel to the Debtors,
         Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 N. King Street, Wilmington, DE
         19801 (Attn.: Sean M. Beach (sbeach@ycst.com) and Ashley E. Jacobs (ajacobs@ycst.com));
         (c) FeiRen International Co., Ltd., as administrative agent under the DIP Credit Agreement, 12/F,
         Henley Building, 5 Queen’s Road Central, Central, Hong Kong, China (Attn: Zheng Ying
         (zhengy@flymen.com.cn) and Hao Zheng (teamxu1@tylaw.com.cn)); (d) the Office of the
         United States Trustee for the District of Delaware, J. Caleb Boggs Federal Building, 844 King
         Street, Suite 2207, Wilmington, DE 19801 (Attn.: Joseph Cudia (joseph.cudia@usdoj.gov) and
         Malcolm Bates (malcolm.m.bates@usdoj.gov)); and (d) counsel to any Committee that has been
         appointed in these chapter 11 cases (collectively, the “Notice Parties”) by no later than 4:00 p.m.
         (prevailing Eastern Time) on the date that is fourteen (14) calendar days after the service
         of this Assumption and Assignment Notice (the “Assumption/Assignment Objection
         Deadline”).

                 5.     The Debtors shall file a notice identifying the Successful Bidder with the
         Bankruptcy Court and serve such notice upon parties in interest by June 14, 2024, at 4:00 p.m.
         (prevailing Eastern Time).

                6.      Unless an Assumption/Assignment Objection is timely and properly filed and
         served before the Assumption/Assignment Objection Deadline, the non-Debtor party to a
         Potentially Assigned Agreement shall (i) be forever barred from objecting to the Cure Amount and
         from asserting any additional cure or other amounts with respect to such Potentially Assigned
         Agreement, and the Debtors and the Successful Bidder(s) shall be entitled to rely solely upon the
         Cure Amount; (ii) be deemed to have consented to any assumption and assignment of such
         Potentially Assigned Agreement; and (iii) be forever barred and estopped from asserting or
         claiming against the Debtors or the Successful Bidder(s) that any additional amounts are due or
         other defaults exist, that conditions to assignment must be satisfied under such Potentially
         Assigned Agreement or that there is any objection or defense to the assumption and assignment of
         such Potentially Assigned Agreement. In addition, the proposed Cure Amount set forth in
         Schedule A hereto shall be binding upon the non-Debtor parties to the Potentially Assigned
         Agreements for all purposes in these chapter 11 cases and will constitute a final determination of


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         the Cure Amounts required to be paid by the Debtors in connection with any assumption and
         assignment of the Potentially Assigned Agreements.

                 7.       Where a non-Debtor counterparty to a Potentially Assigned Agreement timely and
         properly files an objection asserting a cure amount higher or different than the proposed Cure
         Amount, (the “Disputed Cure Amount”), then (i) the cure amount shall be as agreed between the
         parties or (ii) to the extent the parties are unable to consensually resolve the dispute, then such
         objection will be adjudicated at the Sale Hearing or at such other date and time as may be
         determined by the Debtors or fixed by the Court. All other objections to the proposed assumption
         and assignment of a Potentially Assigned Agreement will likewise be heard at the Sale Hearing,
         unless adjourned by agreement of the parties.

                 8.     An Assumption/Assignment Objection shall not constitute an objection to the
         relief generally requested in the Bidding Procedures and Sale Motion. Parties wishing to
         otherwise object to the relief requested in the Bidding Procedures and Sale Motion must file and
         serve a separate objection, stating with particularity such party’s grounds for objection, on each
         of the Notice Parties listed above no later than fourteen (14) calendar days after service of the
         Assumption and Assignment Notice at 4:00 p.m. (prevailing Eastern Time).

                 9.     If you agree with the Cure Amount indicated on Schedule A, and otherwise do not
         object to the Debtors’ assignment of your lease or contract, you need not take any further action.

                 10.     The Debtors’ decision to assume and assign the Potentially Assigned Agreements
         is subject to Bankruptcy Court approval and consummation of the sale of the Assets.

                Inclusion of any document on the list of Potentially Assigned Agreements shall not
         constitute or be deemed to be a determination or admission by the Debtors or the Successful
         Bidder(s) that such document is, in fact, an executory contract or unexpired lease within the
         meaning of the Bankruptcy Code, and all rights with respect thereto are being expressly
         reserved.




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         Dated: May 15, 2024
         Wilmington, Delaware

         /s/ Ashley E. Jacobs
         YOUNG CONAWAY STARGATT &                        SIDLEY AUSTIN LLP
         TAYLOR, LLP                                     Samuel A. Newman (admitted pro hac vice)
         Sean M. Beach (No. 4070)                        1999 Avenue of the Stars, Floor 19
         Ashley E. Jacobs (No. 5635)                     Los Angeles, California 90067
         Jared W. Kochenash (No. 6557)                   Telephone:    (310) 595-9500
         Rodney Square                                   Facsimile:    (310) 595-9501
         1000 North King Street                          Email:        sam.newman@sidley.com
         Wilmington, Delaware 19801
         Telephone:      (302) 571-6600                  and
         Facsimile:      (302) 571-1253
         Email:          sbeach@ycst.com                 Charles Persons (admitted pro hac vice)
                         ajacobs@ycst.com                Jeri Leigh Miller (admitted pro hac vice)
                         jkochenash@ycst.com             2021 McKinney Avenue, Suite 2000
                                                         Dallas, Texas 75201
                                                         Telephone:     (214) 981-3300
                                                         Facsimile:     (214) 981-3400
                                                         Email:         cpersons@sidley.com
                                                                        jeri.miller@sidley.com

                                                         and

                                                         Nathan Elner (admitted pro hac vice)
                                                         787 Seventh Avenue
                                                         New York, New York 10019
                                                         Telephone:    (212) 839-5300
                                                         Facsimile:    (212) 839-5599
                                                         Email:        nelner@sidley.com

                                Counsel for the Debtors and Debtors in Possession




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                                                 Schedule A

                                                   LEASES

        Counterparty          Address of Subject               Description of Contract                  Cure
       Name / Address               Property                                                           Amount
      PW Fund B, LP         Peter O. Knight Airport,    Standard Industrial/Commercial Multi-         $200,660.80
                             Suite 112, Conference      Tenant Lease Net, dated as of April 9,
                                     Room               2013, by and between PW Fund B, LP
                                                        (as successor in interest to Central Valley
                               Tampa, FL 33606          Industrial Core Holdings, LLC) and the
                                                        Company for that certain premises
                                                        located at 2141 ICON Way, Suite 100,
                                                        Vacaville, CA 95688, as amended by that
                                                        certain Lease Amendment No. 1, dated as
                                                        of August 5, 2013, that certain Lease
                                                        Amendment No. 2, dated as of November
                                                        4, 2013, that certain Lease Amendment
                                                        No. 3, dated as of November 13, 2013,
                                                        that certain Lease Amendment No. 4,
                                                        dated as of November 15, 2013, that
                                                        certain Lease Amendment No. 5, dated as
                                                        of November 20, 2013, that certain Lease
                                                        Amendment No. 6, dated as of August
                                                        15, 2014, that certain Lease Amendment
                                                        No. 7, dated as of October 15, 2015, that
                                                        certain Lease Amendment No. 8, dated as
                                                        of June 18, 2018, that certain Lease
                                                        Amendment No. 9, dated as of July 2,
                                                        2018, that certain Lease Amendment No.
                                                        10, dated as of June 22, 2020, and that
                                                        certain Lease Amendment No. 11, dated
                                                        as of November 8, 2022 (as amended, the
                                                        “2141 ICON Lease”).

      Hillsborough            2141 ICON Way,            Space Rental Agreement, dated as of             $2,372.23
      County Aviation            Suite 100,             December 1, 2017, by and between
      Authority              Vacaville, CA 95688        Hillsborough County Aviation Authority
                                                        and the Company for that certain office
                                                        space located at Peter O. Knight Airport,
                                                        Suite 112, Conference Room, Tampa, FL
                                                        33606, as renewed by that certain Space
                                                        Rental Agreement, dated as of December
                                                        1, 2022 (together, the “Office Lease”).




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      Tomas Alva Edison     Blvd Corredor Tijuana-       Lease and Bailment Agreement, dated as     $510,951.28
      Industrial Park, S.   Rosarito 2000, #15202,       of October 25, 2016, by and among
      de R.L. de C.V.        int. MT-7, CP 22330,        Tomas Alva Edison Industrial Park, S. de
                                                         R.L. de C.V. as Landlord, Co-Production
                            Tijuana, Baja California,    de Tijuana, S.A. de C.V. as Tenant and
                                     Mexico              the Company as Guarantor (the “Mexico
                                                         Lease”).

      Tomas Alva Edison     Blvd Corredor Tijuana-       Lease Guaranty, dated as of October 25,    $        -
      Industrial Park, S.   Rosarito 2000, #15202,       2016, by and between Tomas Alva
      de R.L. de C.V.        int. MT-7, CP 22330,        Edison Industrial Park, S. de R.L. de
                                                         C.V. as Landlord and the Company as
                            Tijuana, Baja California,    Guarantor (the “Mexico Lease
                                     Mexico              Guaranty”), which Mexico Lease
                                                         Guaranty was entered into in connection
                                                         with the Mexico Lease.




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                                     EXECUTORY CONTRACTS


               Debtor           Counterparty Name /          Description of Contract       Cure Amount
                                      Address
        ICON Aircraft, Inc.         A5AIR Inc.              Distribution Agreement,            $0
                                2-15 Kukokitamachi         dated as of August 9, 2022,
                                Kokuraminami Ward              by and between the
                                  Kitakyushu City,         Company and A5AIR Inc.
                                 Fukuoka 800-0306
        ICON Aircraft, Inc.       Aaron Williams            Consultant Agreement by            $0
                               7929 Singing Court Pl       and between the Company
                                 Tampa, FL 33615           and Aaron Williams, dated
                                                              December 27, 2022.
        ICON Aircraft, Inc.     Absolute Aero Inc.         Non-Disclosure Agreement            $0
                                 Matthew Terpstra             by and between the
                                 21889 Skywest Dr           Company and Absolute
                                Hayward, CA 94541          Aero Inc., dated August 12,
                                                                      2019.
        ICON Aircraft, Inc.     Absolute Aero Inc.             Absolute Aero Inc.              $0
                                 Matthew Terpstra
                                 21889 Skywest Dr
                                Hayward, CA 94541
        ICON Aircraft, Inc.        Ace Aviation            Non-Disclosure Agreement            $0
                                289 E Perimeter Rd             by and between the
                                Renton, WA 98057           Company and Ace Aviation,
                                                             dated August 25, 2019.

        ICON Aircraft, Inc.    Ace Aviation (KRNT)           Ace Aviation (KRNT)               $0
                                289 E Perimeter Rd
                                Renton, WA 98057
        ICON Aircraft, Inc.      Aces Technology            Aces Technology Services           $0
                                   Services, LLC
                                2441 Honolulu Ave
                                      Ste 162
                                Glendale, CA 91020




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        ICON Aircraft, Inc.      flyADVANCED               Non-Disclosure Agreement         $0
                                1501 Narcissa Rd               by and between the
                               Blue Bell, PA 19422               Company and
                                                           flyADVANCED, dated July
                                                                    12, 2019.
        ICON Aircraft, Inc.    Advantage Aviation          Non-Disclosure Agreement         $0
                               7220 S 4450 W West              by and between the
                                Jordan, UT 84084            Company and Advantage
                                                           Aviation, dated December 1,
                                                                      2023.
        ICON Aircraft, Inc.   Aero city Maintenance        Non-Disclosure Agreement         $0
                                 Ysmael Galera                by and between the
                                2901 E Spring St            Company and Aero city
                                     Suite A               Maintenance, dated August
                              Long Beach, CA 90806                 25, 2019.
        ICON Aircraft, Inc.   Aero city Maintenance          Aero city Maintenance          $0
                                 Ysmael Galera
                                2901 E Spring St
                                     Suite A
                              Long Beach, CA 90806
        ICON Aircraft, Inc.    Aero Services Center           Aero Services Center          $0
                                 121 Aviation Dr
                                    Bldg 4002
                               Santa Fe, NM 87507
        ICON Aircraft, Inc.   Aeronautical Services of      Greenwood Aeronautical          $0
                                    Greenwood                     (KGRD)
                                 322 Terminal Rd
                               Greenwood, SC 29649
        ICON Aircraft, Inc.     Aircraft Specialists       Non-Disclosure Agreement         $0
                                6005 Propeller Ln.            by and between the
                               Louisville, KY 47172          Company and Aircraft
                                                           Specialists, Inc., dated July
                                                                    11, 2019.
        ICON Aircraft, Inc.     Airfilm Aviation            Consultant Agreement by         $0
                                  Services LLC              and between the Company
                              6245 Aerodrome Way              and Airfilm Aviation
                              Georgetown, CA 95634         Services LLC, dated May 1,
                                                                     2022.


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        ICON Aircraft, Inc.        Alex Prasad            Consultant Agreement by        $0
                                7438 Inverness St         and between the Company
                              San Ramon, CA 94583           and Alex Prasad, dated
                                                              October 20, 2022.
        ICON Aircraft, Inc.     Alexander Mason          Offer Letter by and between     $0
                               2116 Hillsboro Hts        the Company and Alexander
                              Knoxville, TX 37920          Mason, dated January 13,
                                                                    2020.
        ICON Aircraft, Inc.          Allianz                Insurance Agreement          $0
                                 P.O. Box 71533
                              Richmond, VA 23255-
                                      1533
        ICON Aircraft, Inc.     Amr Elhosseiny           Non-Disclosure Agreement        $0
                              Home office in Egypt          by and between the
                                       ,                    Company and Amr
                                                         Elhosseiny, dated April 29,
                                                                   2019.
        ICON Aircraft, Inc.    Andre John Bulot               Aircraft Purchase          $0
                                 1125 Lee St                Agreement, dated as of
                               Milton, GA 30004            January 18, 2022, by and
                                                          between the Company and
                                                              Andre John Bulot.
        ICON Aircraft, Inc.    Andre John Bulot          Letter Agreement Re: Dock       $0
                                 1125 Lee St             purchase options, dated as of
                               Milton, GA 30004            January 18, 2022, by and
                                                          between the Company and
                                                            Andre John Bulot (the
                                                          “Bulot Letter Agreement”).


        ICON Aircraft, Inc.     Andres Carrizosa              Aircraft Purchase          $0
                               4942 SW 166th Ave           Agreement, dated as of
                               Miramar, FL 33027           August 20, 2021, by and
                                                          between the Company and
                                                              Andres Carrizosa.




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        ICON Aircraft, Inc.      Andrew Mesias            Offer Letter by and between      $0
                                 899 Wallace Dr            the Company and Andrew
                               Woodland, CA 95776           Mesias, dated March 15,
                                                            2016, as amended by that
                                                          certain Promotion Letter by
                                                          and between the Company
                                                          and Andrew Mesias, dated
                                                               December 6, 2021.


        ICON Aircraft, Inc.      Andrew Mesias              Severance Agreement by         $0
                                 899 Wallace Dr            and between the Company
                               Woodland, CA 95776          and Andrew Mesias, dated
                                                               August 13, 2018.
        ICON Aircraft, Inc.      Anthony Curley           Offer Letter by and between      $0
                                 910 Sage Drive            the Company and Anthony
                               Vacaville, CA 95687        Curley, dated June 26, 2022.

        ICON Aircraft, Inc.    ANV Global Services            Insurance Agreement          $0
                                        Inc.
                              200 Hudson Street, Suite
                                        800
                                Jersey City, NJ 7311
        ICON Aircraft, Inc.       Apex Aviation           Non-Disclosure Agreement         $0
                                 Melissa Mellett              by and between the
                                1410 Jet Stream Dr           Company and Apex
                                    Suite 100             Aviation, Inc., dated August
                               Henderson, NV 89052                  3, 2020.
        ICON Aircraft, Inc.     Apex Aviation, Inc.           Apex Aviation, Inc.          $0
                                 Melissa Mellett
                                1410 Jet Stream Dr
                                    Suite 100
                               Henderson, NV 89052
        ICON Aircraft, Inc.        APG Aviation           Non-Disclosure Agreement         $0
                              John Joseph McCormack           by and between the
                                 8260 Skylane Way             Company and APG
                               Punta Gorda, FL 33982      Aviation, dated July 3, 2019.




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        ICON Aircraft, Inc.      APG AVIATION                  APG AVIATION                $0
                              John Joseph McCormack
                                 8260 Skylane Way
                               Punta Gorda, FL 33982

        ICON Aircraft, Inc.     Argonaut Insurance            Insurance Agreement          $0
                                    Company
                              Argo Pro Underwriting
                                 PO Box 469012
                              San Antonio, TX 78246
        ICON Aircraft, Inc.      Austin Rodriguez          Extended Temporary Work         $0
                                   361 Engell Ct              Travel Letter by and
                                 Suisun, CA 94585          between the Company and
                                                            Austin Rodriguez, dated
                                                                March 20, 2023.
        ICON Aircraft, Inc.      Avian Aeronautics             Avian Aeronautics           $0
                                  Keith A Mooney
                                 8900 State Hwy 3
                                     Suite 102
                               Bremerton, WA 98312
        ICON Aircraft, Inc.         Ben Shipps            Pilot Services Agreement by      $0
                               Jack Browns Seaplane        and between the Company
                                       Base                  and Ben Shipps at Jack
                                    2704 US-92               Browns Seaplane Base,
                              Winter Haven, FL 33881       dated September 20, 2023.

        ICON Aircraft, Inc.        Bill Nichols           Offer Letter by and between      $0
                              1229 Meadowlark Drive          the Company and Bill
                               Vacaville, CA 95687          Nichols (also known as
                                                           William Nichols), dated
                                                                 May 16, 2018.
        ICON Aircraft, Inc.       Bill's Air Center        Non-Disclosure Agreement        $0
                                    Max Keinzel               by and between the
                               3147 Donald Douglas          Company and Bill's Air
                                       Loop S               Center, dated August 7,
                              Santa Monica, CA 90405                 2020.




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        ICON Aircraft, Inc.       Bill's Air Center             Bill's Air Center          $0
                                    Max Keinzel
                               3147 Donald Douglas
                                       Loop S
                              Santa Monica, CA 90405

        ICON Aircraft, Inc.     BORDER AIR LTD             Non-Disclosure Agreement        $0
                                    Cliff Coy                 by and between the
                                  629 Airport Rd            Company and BORDER
                                Swanton, VT 75672          AIR LTD, dated September
                                                                   23, 2020.
        ICON Aircraft, Inc.     BORDER AIR LTD                BORDER AIR LTD               $0
                                    Cliff Coy
                                  629 Airport Rd
                                Swanton, VT 75672
        ICON Aircraft, Inc.         Bruce Bolla       Pilot Services Agreement by          $0
                                  844 Lombard St       and between the Company
                              San Francisco, CA 94133    and Bruce Bolla, dated
                                                          November 18, 2022.
        ICON Aircraft, Inc.         Bryan Duran           Offer Letter by and between      $0
                                 8945 Lanier Way           the Company and Bryan
                               Sacramento, CA 95826         Duran, dated March 24,
                                                                     2021.
        ICON Aircraft, Inc.       Byron Pittman           Offer Letter by and between      $0
                                 5948 Coyle Ave.           the Company and Bryon
                                Citrus Heights, CA        Pittman, dated December 8,
                                                                     2017.
        ICON Aircraft, Inc.        Byron Young             Consultant Agreement by         $0
                                2852 Antelope Court        and between the Company
                                Lafayette, CO 80026         and Byron Young, dated
                                                               October 30, 2023.
        ICON Aircraft, Inc.     Captive- Mangrove             Insurance Agreement          $0
                                Insurance Solutions
                              C/O Marsh Management
                                      Services
                                463 Mountain View
                                  Drive, Suite 301
                               Colchester, VT 5446



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        ICON Aircraft, Inc.     Central Jet Service        Non-Disclosure Agreement        $0
                                  Danny Aiello                by and between the
                                 2030 Warren Dr             Company and Central Jet
                                Marshall, TX 75672           Service, dated June 25,
                                                                      2019.
        ICON Aircraft, Inc.     Central Jet Service            Central Jet Service         $0
                                  Danny Aiello
                                 2030 Warren Dr
                                Marshall, TX 75672
        ICON Aircraft, Inc.   Channel Islands Aviation     Non-Disclosure Agreement        $0
                                  305 Durley Ave              by and between the
                               Camarillo, CA 93010          Company and Channel
                                                            Islands Aviation, dated
                                                               October 11, 2022.
        ICON Aircraft, Inc.   Channel Islands Aviation      Channel Islands Aviation       $0
                                  305 Durley Ave
                               Camarillo, CA 93010

        ICON Aircraft, Inc.    Cherie Stafford (DC         Non-Disclosure Agreement        $0
                                    Aviation)                 by and between the
                               5231 Johnny Reaver            Company and Cherie
                                 Road Hangar A1             Stafford (DC Aviation),
                              Panama City, FL 32409           dated July 15, 2019.
        ICON Aircraft, Inc.         Chris Ahn             Offer Letter by and between      $0
                                  815 Severn Ave            the Company and Chris
                                 Tampa, FL 33606          Ahn, dated March 15, 2022.

        ICON Aircraft, Inc.     Christopher J. Mack       Offer Letter by and between      $0
                                  1300 Burton Dr               the Company and
                                     Apt #233             Christopher J. Mack, dated
                                Vacaville, CA 95687           February 12, 2016.




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        ICON Aircraft, Inc.   Chubb Seguros Mexico,            Insurance Agreement          $0
                                        S.A.
                              Paseo de la Reforma 250
                                     Torre Niza
                                 Piso 7 Col. Juárez,
                                    Cuauhtémoc
                              Ciudad. de México, 6600


        ICON Aircraft, Inc.      Chuck Coleman             Pilot Services Agreement by      $0
                                  PO Box 1073               and between the Company
                                Mojave, CA 93502            and Chuck Coleman, dated
                                                                 January 27, 2023.

        ICON Aircraft, Inc.   Chuck's Aircraft LLC.         Non-Disclosure Agreement        $0
                                  Robert McBride                by and between the
                                 6200 Aviation Dr             Company and Chuck's
                                  Hangar AC101              Aircraft LLC., dated July 8,
                              Pflugerville, TX 78660                   2019.
        ICON Aircraft, Inc.   Chuck's Aircraft LLC.           Chuck's Aircraft LLC.         $0
                                  Robert McBride
                                 6200 Aviation Dr
                                  Hangar AC101
                              Pflugerville, TX 78660
        ICON Aircraft, Inc.       Coachella Valley          Non-Disclosure Agreement        $0
                                 Aviation Company              by and between the
                                 Francisco Esquivel          Company and Coachella
                                   79880 Ave 42             Valley Aviation Company,
                                     Hangar A                   dated July 7, 2021.
                                Bermuda Dunes, CA
                                       92203
        ICON Aircraft, Inc.       Coachella Valley          Coachella Valley Aviation       $0
                                 Aviation Company                  Company
                                 Francisco Esquivel
                                   79880 Ave 42
                                     Hangar A
                                Bermuda Dunes, CA
                                       92203




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        IC Technologies Inc.        Co-Production             Manufacturing Services            $0
                                  International, Inc.         Agreement, dated as of
                               8716 Sherwood Terrace          August 4, 2016, by and
                                San Diego, CA 92154           between Co-Production
                                                            International, Inc. (“CPI”)
                                                            and IC Technologies, Inc.
                                                             (the “CPI Manufacturing
                                                              Services Agreement”).

        IC Technologies Inc.        Co-Production           Equipment Use Agreement,        $925,977.71
                                  International, Inc.       dated as of August 4, 2016,
                               8716 Sherwood Terrace            by and between Co-
                                San Diego, CA 92154           Production International,
                                                             Inc. and IC Technologies,
                                                             Inc. (the “CPI Equipment
                                                                 Use Agreement”).


        IC Technologies Inc.        Co-Production           Commodatum Agreement,               $0
                                  International, Inc.       dated as of August 4, 2016,
                               8716 Sherwood Terrace            by and among Co-
                                San Diego, CA 92154          Production International
                                                              Inc., Co-Production de
                                                           Tijuana S.A. de C.V., and IC
                                                           Technologies, Inc. (the “CPI
                                                           Commodatum Agreement”).


        ICON Aircraft, Inc.      County of Solano           Fuel Services Agreement,            $0
                                  301 Airport Rd           dated as of April 22, 2014,
                                      Ste 205                  by and between the
                                Vacaville, CA 95688        Company and the County of
                                                                     Solano.
        ICON Aircraft, Inc.      County of Solano          Through the Fence Airport            $0
                                  301 Airport Rd           Access Agreement, dated as
                                      Ste 205                of June 9, 2015, by and
                                Vacaville, CA 95688        between the Company and
                                                              the County of Solano.
        ICON Aircraft, Inc.       Daniel Crawford            Consultant Agreement by            $0
                                 205 Rosana Drive            and between the Company
                                 Brandon, FL 33511          and Daniel Crawford, dated
                                                                 February 6, 2023.

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        ICON Aircraft, Inc.       Daniel Dumlao           Offer Letter by and between      $0
                                3500 Birdland Ave          the Company and Daniel
                              Sacramento, CA 95835         Dumlao, dated September
                                                                   27, 2023.
        ICON Aircraft, Inc.     Daniel Mertesdorf         Offer Letter by and between      $0
                              28060 Stallion Springs       the Company and Daniel
                                       Dr                 Mertesdorf, dated February
                              Tehachapi, CA 63561                  23, 2015.
        ICON Aircraft, Inc.     Daniel Mertesdorf           Severance Agreement by         $0
                              28060 Stallion Springs       and between the Company
                                       Dr                    and Daniel Mertesdorf,
                              Tehachapi, CA 63561            dated August 13, 2018.
        ICON Aircraft, Inc.       Daniel Milstein              Aircraft Purchase           $0
                               1863 NE Ocean Blvd         Agreement, dated as of May
                                 Stuart, FL 34996          10, 2022, by and between
                                                          the Company and Gratitude
                                                                Holdings LLC.
        ICON Aircraft, Inc.      Danielle Fernandez       Pilot Services Agreement by      $0
                                  2770 NE 14th St          and between the Company
                                      Apt 204               and Danielle Fernandez,
                              Ft Lauderdale, FL 33304        dated August 4, 2022.

        ICON Aircraft, Inc.      David Cervizzi           Offer Letter by and between      $0
                                  801 Kells Cir             the Company and David
                               Vacaville, CA 95688         Cervizzi, dated March 24,
                                                                     2021.
        ICON Aircraft, Inc.        David Zook                    Aircraft Purchase         $0
                              5075 Lower Valley Rd         Agreement, dated as of July
                                Atglen, PA 17527            19, 2022, by and between
                                                             the Company and David
                                                                       Zook.
        ICON Aircraft, Inc.       DC Aviation              Cherie Stafford, having its     $0
                               5231 Johnny Reaver         principal place of business at
                                 Road Hangar A1                   DC Aviation
                              Panama City, FL 32409




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        ICON Aircraft, Inc.     Devon Woodruff             Offer Letter by and between      $0
                                 1200 Allison Dr            the Company and Devon
                               Vacaville, CA 95687         Woodruff, dated October 24,
                                                                      2023.
        ICON Aircraft, Inc.      Didier Makowski            Consultant Agreement by         $0
                                2950 Hilltop Drive          and between the Company
                                 Napa, CA 94558            and Didier Makowski, dated
                                                                 March 11, 2024.
        ICON Aircraft, Inc.      DLK Aviation               Non-Disclosure Agreement        $0
                              2601 Cessna Ln NW                by and between the
                              Kennesaw, GA 30144               Company and DLK
                                                            Aviation, dated January 11,
                                                                       2019.
        ICON Aircraft, Inc.      DLK Aviation                     DLK Aviation              $0
                              2601 Cessna Ln NW
                              Kennesaw, GA 30144
        ICON Aircraft, Inc.    Elina Azcurra Lunin         Pilot Services Agreement by      $0
                               1675 Bay Harbor Ln           and between the Company
                                Sarasota, FL 34231           and Elina Azcurra Lunin,
                                                               dated April 1, 2023.

        ICON Aircraft, Inc.   Emily A. Harrison Ross        Non-Disclosure Agreement        $0
                                833 Woodland Dr                by and between the
                                Antioch, IL 60002            Company and Emily A.
                                                              Harrison Ross, dated
                                                                January 22, 2024.
        ICON Aircraft, Inc.    Emily Harrison Ross         Pilot Services Agreement by      $0
                                833 Woodland Dr             and between the Company
                                Antioch, IL 60002           and Emily Harrison Ross,
                                                             dated October 31, 2023.

        ICON Aircraft, Inc.        Eric Ketner              Consultant Agreement by         $0
                               2362 Ellsworth Dr            and between the Company
                              Clarksville, TN 37043           and Eric Ketner, dated
                                                               December 9, 2022.




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        ICON Aircraft, Inc.       Eric VanAcker             Offer Letter by and between      $0
                                   715 20th St                the Company and Eric
                              Sacramento, CA 95811          VanAcker, dated December
                                                                     18, 2023.
        ICON Aircraft, Inc.        Erich Roeder                  Aircraft Operating          $0
                                1429 Wildrye Ridge                  Agreements
                                 Celina, TX 75009
        ICON Aircraft, Inc.    Estherville Aviation          Non-Disclosure Agreement        $0
                                 1672 425th Ave                 by and between the
                               Estherville, IA 51334          Company and Estherville
                                                              Aviation, Inc., dated May
                                                                      31, 2019.
        ICON Aircraft, Inc.   Estherville Aviation, Inc.      Estherville Aviation, Inc.     $0
                                  1672 425th Ave
                               Estherville, IA 51334

        ICON Aircraft, Inc.       Everest National              Insurance Agreement          $0
                                Insurance Company
                               477 Martinsville Road
                                   P.O. Box 830
                                 Liberty Corner, NJ
                                    07938-0830
        ICON Aircraft, Inc.       Exec Aero LLC              Non-Disclosure Agreement        $0
                                  83 Nilson Way                 by and between the
                                 Orlando, FL 32803            Company and Exec Aero
                                                              LLC, dated July 4, 2019.

        ICON Aircraft, Inc.       Exec Aero LLC                   Exec Aero LLC              $0
                                  83 Nilson Way
                                 Orlando, FL 32803
        ICON Aircraft, Inc.   Executive Air Transport       Non-Disclosure Agreement         $0
                                       Inc.                     by and between the
                                 103 Sinclair Dr            Company and Executive Air
                               Muskegon, MI 49441           Transport Inc., dated July 8,
                                                                       2019.




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        ICON Aircraft, Inc.   Executive Air Transport       Executive Air Transport Inc.         $0
                                       Inc.
                                 103 Sinclair Dr
                               Muskegon, MI 49441
        ICON Aircraft, Inc.    FEIREN International         Intellectual Property License        $0
                              5 Queen's Road Central         Agreement, dated as of July
                                 Henley Building              29, 2021, by and between
                                       12/F                  FEIREN International Co.,
                                     Central                 Limited and the Company
                                   Honk Kong,                  (the “FEIREN License
                                                                    Agreement”).


        ICON Aircraft, Inc.      Ferdinand "Dex"            Offer Letter by and between          $0
                                      Manalili              the Company and Ferdinand
                               3300 Peppertree Drive        “Dex” Manalili (also known
                                Fairfield, CA 94533           as Ferdinand Manalili or
                                                               Dexter Manalili), dated
                                                                  August 7, 2015.


        ICON Aircraft, Inc.          Fictiv Inc.            Manufacturing Services and       $102,281.55
                                  Attn: Eddie Chen          Supply Agreement, dated as
                                 168 Welsh St, #A            of November 22, 2019, by
                              San Francisco, CA 94107        and between the Company
                                                             and Fictiv Inc. (the “Fictiv
                                                                   Agreement”).
        ICON Aircraft, Inc.      Flight Logix LLC                FlightLogix LLC                 $0
                                4510 Airport Road
                               Cincinnati, OH 45226
        ICON Aircraft, Inc.    FlightLevel Norwood           Non-Disclosure Agreement            $0
                                  125 Access Rd                 by and between the
                               Norwood, MA 02062             Company and FlightLevel
                                                             Norwood, LLC, dated July
                                                                     11, 2019.
        ICON Aircraft, Inc.      FlightLogix LLC             Non-Disclosure Agreement            $0
                                4510 Airport Road               by and between the
                               Cincinnati, OH 45226          Company and FlightLogix
                                                             LLC, dated April 2, 2019.




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        ICON Aircraft, Inc.       flyAdvanced                   flyADVANCED                $0
                                1501 Narcissa Rd
                               Blue Bell, PA 19422
        ICON Aircraft, Inc.   Gaelan Shaughn-Thomas       Offer Letter by and between      $0
                                       Kamin               the Company and Gaelan
                                   413 Sarah Way           Shaughn-Thomas Kamin,
                               Suisun City, CA 94585       dated February 17, 2017.

        ICON Aircraft, Inc.     Gary-James Knight         Offer Letter by and between      $0
                              3440 Hickory Hammock          the Company and Gary-
                                      Loop                James Knight, dated August
                                Wesley Chapel, FL                  10, 2018.
                                      33544
        ICON Aircraft, Inc.       Genesah Duffy           Pilot Services Agreement by      $0
                                107 E Lambright St         and between the Company
                                 Tampa, FL 33604           and Genesah Duffy, dated
                                                               November 3, 2023.

        ICON Aircraft, Inc.        George Jones           Offer Letter by and between      $0
                                 1105 Danberry Ct          the Company and George
                                   Antioch, CA            Jones, dated May 18, 2018.

        ICON Aircraft, Inc.        George Jones             Severance Agreement by         $0
                                 1105 Danberry Ct          and between the Company
                                   Antioch, CA              and George Jones, dated
                                                               August 13, 2018.
        ICON Aircraft, Inc.   Gerald (“Jerry”) Meyer         Executive Employment          $0
                               30025 Quail Run Dr          Agreement by and between
                              Agoura Hills, CA 91301        the Company and Gerald
                                                             Meyer, dated April 24,
                                                                     2023.
        ICON Aircraft, Inc.   Gerald (“Jerry”) Meyer       Indemnification Agreement       $0
                               30025 Quail Run Dr              by and between the
                              Agoura Hills, CA 91301          Company and Gerald
                                                             Meyer, dated October 8,
                                                                     2021.




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        ICON Aircraft, Inc.    Gibbs Service Center.         Gibbs Services Center, Inc.     $0
                                       Inc.
                                   8912 Aero Dr
                               San Diego, CA 92123
        ICON Aircraft, Inc.    Gibbs Services Center         Non-Disclosure Agreement        $0
                                   8912 Aero Dr                  by and between the
                               San Diego, CA 92123              Company and Gibbs
                                                             Services Center, Inc., dated
                                                                   June 17, 2019.
        ICON Aircraft, Inc.   Giving Wings Aviation            Giving Wings Aviation         $0
                              1170 Airport Access Rd
                                        #P
                              Traverse City, MI 49686

        ICON Aircraft, Inc.   Giving Wings Aviation         Non-Disclosure Agreement         $0
                                       LLC                     by and between the
                              1170 Airport Access Rd        Company and Giving Wings
                                        #P                   Aviation LLC, dated July
                              Traverse City, MI 49686               12, 2019.

        ICON Aircraft, Inc.      Great American                 Insurance Agreement          $0
                                  PO Box 5425
                              Cincinnati, OH 45201-
                                      5425
        ICON Aircraft, Inc.     Great Lakes Aero            Non-Disclosure Agreement         $0
                                     Products                   by and between the
                              915 Kearsley Park Blvd         Company and Great Lakes
                                 Flint, MI 48503            Aero Products, dated August
                                                                     28, 2012.
        ICON Aircraft, Inc.     Great Lakes Aero             Great Lakes Aero Products       $0
                                     Products
                              915 Kearsley Park Blvd
                                 Flint, MI 48503
        ICON Aircraft, Inc.     Great Lakes ICON             Non-Disclosure Agreement        $0
                                   PO Box 123                   by and between the
                              Shipshewana, IN 46565          Company and Great Lakes
                                                             ICON, dated December 8,
                                                                       223.


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        ICON Aircraft, Inc.      Great Lakes Icon              Great Lakes ICON            $0
                                   PO Box 123
                              Shipshewana, IN 46565
        ICON Aircraft, Inc.         Hank Blair            Offer Letter by and between      $0
                                389 Boston Terrace          the Company and Hank
                                      Apt A                 Blair, dated February 9,
                                 Davis, CA 95618                      2017.
        ICON Aircraft, Inc.     Heavy Metal Air            Non-Disclosure Agreement        $0
                                 67 Tower Road                 by and between the
                                     Hanger T              Company and Heavy Metal
                              White Plains, NY 10604        Air, dated May 19, 2021.

        ICON Aircraft, Inc.     Heavy Metal Air            Heavy Metal Air (KFRG)          $0
                                 67 Tower Road
                                     Hanger T
                              White Plains, NY 10604

        ICON Aircraft, Inc.      Heavy Metal Air           Heavy Metal Air (KHPN)          $0
                                     (KHPN)
                                  67 Tower RD,
                                Westchester County
                                     Airport,
                                West Harrison, NY
                                      10604
        ICON Aircraft, Inc.   Hillsboro Aviation Inc.     Non-Disclosure Agreement         $0
                                3845 NE 30th Ave              by and between the
                               Hillsboro, OR 97124         Company and Hillsboro
                                                          Aviation Inc., dated July 18,
                                                                     2019.
        ICON Aircraft, Inc.   Hillsboro Aviation, Inc.      Hillsboro Aviation, Inc.       $0
                                3845 NE 30th Ave
                               Hillsboro, OR 97124
        ICON Aircraft, Inc.   Houston Aviation Center      Non-Disclosure Agreement        $0
                              12888 Hwy, 6 S., Hanger         by and between the
                                        104                  Company and Houston
                                Sugarland, TX 77498        Aviation Center, dated May
                                                                    30, 2018.




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        ICON Aircraft, Inc.   Hudson Insurance Group         Insurance Agreement          $0
                              100 William Street, 5th
                                      Floor
                               New York, NY 10038

        ICON Aircraft, Inc.       Hussein Harb            Consultant Agreement by         $0
                                145 Route du Four         and between the Company
                                 Bourdeau, 73370           and Hussein Harb, dated
                                                                June 8, 2023.
        ICON Aircraft, Inc.       Ideal Aviation          Non-Disclosure Agreement        $0
                                 5200 Omega Dr               by and between the
                                 Sauget, IL 62206            Company and Ideal
                                                           Aviation, dated April 22,
                                                                     2019.
        ICON Aircraft, Inc.       Ideal Aviation          Non-Disclosure Agreement        $0
                                 5200 Omega Dr               by and between the
                                 Sauget, IL 62206            Company and Ideal
                                                          Aviation, dated January 16,
                                                                     2019.
        ICON Aircraft, Inc.       Ideal Aviation                Ideal Aviation            $0
                                 5200 Omega Dr
                                 Sauget, IL 62206
        ICON Aircraft, Inc.        Jake Fenton           Offer Letter by and between      $0
                              411 N Channel Dr. #A         the Company and Jake
                              Wrightsville Beach, NC     Fenton, dated June 23, 2021.
                                      28480
        ICON Aircraft, Inc.    James E Andrews Jr              James Andrews              $0
                               2500 Highway 297a
                              Cantonment, FL 32533
        ICON Aircraft, Inc.    James E. Andrews Jr             Memorandum of              $0
                               2500 Highway 297a         Understanding Service and
                              Cantonment, FL 32533       Support, dated as of January
                                                          11, 2022, by and between
                                                         the Company and James E.
                                                         Andrews Jr. (the “Andrews
                                                              MoU Services and
                                                                  Support”).




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        ICON Aircraft, Inc.    James E. Andrews Jr              ICON Advocate              $0
                               2500 Highway 297a                Memorandum of
                              Cantonment, FL 32533         Understanding, dated as of
                                                            January 11, 2022, by and
                                                           between the Company and
                                                           James E. Andrews Jr. (the
                                                           “Andrews ICON Advocate
                                                                    MoU”).

        ICON Aircraft, Inc.    James E. Andrews Jr.        Non-Disclosure Agreement        $0
                                  2500 Highway                by and between the
                                      297A                  Company and James E.
                              Cantonment, FL 32533         Andrews Jr., dated January
                                                                   12, 2022.
        ICON Aircraft, Inc.      Jason Courtney           Offer Letter by and between      $0
                               Mision Todos Santos          the Company and Jason
                                       9031                Courtney, dated February
                                Bajamar Carretera                  26, 2024.
                              Esenica Tij-Ens Km 77
                               Ensenada, CA 22760
        ICON Aircraft, Inc.        Jason Huang            Offer Letter by and between      $0
                                 7763 Redbud Ct             the Company and Jason
                              Pleasanton, CA 94588        Huang, dated July 1, 2020,
                                                           as amended by that Salary
                                                           Adjustment Notice, dated
                                                                 June 9, 2021.
        ICON Aircraft, Inc.        Jason Huang             Indemnification Agreement       $0
                                 7763 Redbud Ct                by and between the
                              Pleasanton, CA 94588         Company and Jason Huang,
                                                              dated July 13, 2020.

        ICON Aircraft, Inc.        Jason Huang                  ICON Aircraft, Inc.        $0
                                 7763 Redbud Ct            Proprietary Information and
                              Pleasanton, CA 94588            Invention Assignment
                                                           Agreement by and between
                                                               Jason Huang and the
                                                             Company, dated July 7,
                                                                      2020.




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        ICON Aircraft, Inc.        Jason Huang             Non-Disclosure Agreement        $0
                                 7763 Redbud Ct               by and between the
                              Pleasanton, CA 94588         Company and Jason Huang,
                                                             dated June 15, 2020.

        ICON Aircraft, Inc.    JED-AIRE Aviation          Non-Disclosure Agreement         $0
                               340 20th Street NW             by and between the
                               Benson, MN 56215            Company and JED-AIRE
                                                          Aviation, dated November 6,
                                                                     2019.
        ICON Aircraft, Inc.    JED-AIRE Aviation              JED-AIRE Aviation            $0
                               340 20th Street NW
                               Benson, MN 56215
        ICON Aircraft, Inc.         Jeff Smith                     Jeff Smith              $0
                                7511 Airfield Dr N
                              Chesterfield, VA 23237

        ICON Aircraft, Inc.    Jeff Smith (Dominion        Non-Disclosure Agreement        $0
                                     Aviation)                by and between the
                                7511 Airfield Dr N          Company and Jeff Smith
                              Chesterfield, VA 23237       (Dominion Aviation), dated
                                                                April 26, 2020.

        ICON Aircraft, Inc.      Jennifer Donohue         Offer Letter by and between      $0
                               151 7th St S, Unit 256      the Company and Jennifer
                              St Petersburg, FL 33701       Donohue (also known as
                                                           Jennifer Claymore), dated
                                                              December 17, 2019.

        ICON Aircraft, Inc.        Jerry Meyer                 ICON Aircraft, Inc.         $0
                               30025 Quail Run Dr          Proprietary Information and
                              Agoura Hills, CA 91301          Invention Assignment
                                                           Agreement by and between
                                                              Gerald Meyer and the
                                                            Company, dated March 7,
                                                                      2016.




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        ICON Aircraft, Inc.      Jet Air Group            Non-Disclosure Agreement         $0
                                1921 Airport Dr              by and between the
                              Green Bay, WI 54313         Company and Jet Air Group,
                                                            dated October 3, 2019.

        ICON Aircraft, Inc.      Jet Air Group                   Jet Air Group             $0
                                1921 Airport Dr
                              Green Bay, WI 54313
        ICON Aircraft, Inc.          Jetran                Non-Disclosure Agreement        $0
                                 1449 Airpark                 by and between the
                               Horseshoe Bay, TX           Company and Jetran, LLC,
                                     78657                  dated August 25, 2020.

        ICON Aircraft, Inc.       Jetran, LLC                     Jetran, LLC              $0
                                 1449 Airpark
                               Horseshoe Bay, TX
                                     78657
        ICON Aircraft, Inc.    Joanna McPherson           Pilot Services Agreement by      $0
                              4967 Pond Ridge Dr           and between the Company
                              Riverview, FL 33578            and Joanna McPherson,
                                                             dated February 6, 2023.

        ICON Aircraft, Inc.     John Mavronicles           Consultant Agreement by         $0
                               165 N Canal St, Apt         and between the Company
                                      1217                and John Mavronicles, dated
                                Chicago, IL 60606               March 2, 2022.
        ICON Aircraft, Inc.       John Staines            Pilot Services Agreement by      $0
                                  322 Logan Pl             and between the Company
                                Clover, SC 29710             and John Staines, dated
                                                                 March 16, 2024.

        ICON Aircraft, Inc.     Johnathan Spano                Aircraft Purchase           $0
                                2845 E Spring St             Agreement, dated as of
                              Long Beach, CA 90806          March 10, 2023, by and
                                                           between the Company and
                                                            Global Expeditions LLC.




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        ICON Aircraft, Inc.       Jorge Angel             Offer Letter by and between      $0
                               28657 Oak Pond Rd            the Company and Jorge
                               Building 9 Apt. 210         Angel, dated February 16,
                               Wesley Chapel, FL                     2022.
                                      33543
        ICON Aircraft, Inc.       Joseph Rubino                Aircraft Purchase           $0
                                106 Founders Path           Agreement, dated as of
                               Calverton, NY 11933          March 29, 2016, by and
                                                           between the Company and
                                                                Joseph Rubino.
        ICON Aircraft, Inc.     Juan L Dominguez               Aircraft Purchase           $0
                                 PO Box 191625               Agreement, dated as of
                               San Juan, PR 00919-          January 10, 2020, by and
                                      1625                 between the Company and
                                                            Amphibious Adventures,
                                                                     LLC.
        ICON Aircraft, Inc.      Justin R Simpson               Aircraft Purchase          $0
                              80 Prince Alfred Parade        Agreement, dated as of
                               Newport, NSW 2106           September 17, 2021, by and
                                                            between the Company and
                                                                Valia, IP Pty Ltd.
        ICON Aircraft, Inc.     Karina A Sanchez          Offer Letter by and between      $0
                                Condesa Palmas            the Company and Karina A.
                                Colonia Palmares            Sanchez (also known as
                              Queretaro, QRO 76127         Karina A. Hamilton), dated
                                                              September 4, 2015.

        ICON Aircraft, Inc.      Kavita Pahuja            Offer Letter by and between      $0
                               2297 Farmcrest St           the Company and Kavita
                               Milpitas, CA 95035           Pahuja, dated April 15,
                                                                     2018.
        ICON Aircraft, Inc.       Kaylee Brown            Pilot Services Agreement by      $0
                               202 N. Granada Ave          and between the Company
                                      Apt 6                 and Kaylee Brown, dated
                               Alhambra, CA 91801                May 11, 2023.




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        ICON Aircraft, Inc.   Keith A. Mooney (Avian        Non-Disclosure Agreement        $0
                                    Aeronautics)               by and between the
                                 8900 State Hwy 3            Company and Keith A.
                                     Suite 102                  Mooney (Avian
                               Bremerton, WA 98312             Aeronautics), dated
                                                              December 19, 2019.
        ICON Aircraft, Inc.      Kevin D. Golden           Offer Letter by and between      $0
                                2375 Hummingbird             the Company and Kevin
                                       Drive               Golden, dated September 26,
                               Florissant, MO 63033         2014, as amended by Offer
                                                            Letter by and between the
                                                               Company and Kevin
                                                           Golden, dated February 23,
                                                                      2015.


        ICON Aircraft, Inc.      Kevin D. Golden                   1.6.82 Golden,           $0
                                2375 Hummingbird              Kevin_Amended Offer
                                       Drive                Letter - signed 03.11.15.pdf
                               Florissant, MO 63033
        ICON Aircraft, Inc.      Kevin D. Golden              Severance Agreement by        $0
                                2375 Hummingbird             and between the Company
                                       Drive                and Kevin D. Golden, dated
                               Florissant, MO 63033              August 13, 2018.
        ICON Aircraft, Inc.       Kevin Strange            Offer Letter by and between      $0
                                 34140 Ogrady Ct             the Company and Kevin
                               Beaumont, CA 92223           Strange, dated February 4,
                                                                      2022.
        ICON Aircraft, Inc.       Kevin Wexler                  Aircraft Operating          $0
                                1068 Arcadian Way                  Agreements
                                Fort Lee, NJ 07024




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        ICON Aircraft, Inc.    Kodiak Research LTD             OEM Customer               $92,580.00
                                 (Nassau Bahamas           Requirements of Kodiak
                              Authorised Distributor of   Research Ltd., dated as of
                                 ROTAX Aircraft             January 25, 2024, and
                                      Engines)          entered into by the Company
                                 Coral Harbour Rd        (the “Kodiak Agreement”).
                                Nassau International
                               Airport Coral Harbour
                               Road, PO Box SS 6758
                                      Nassau,

        ICON Aircraft, Inc.       Kristen Eckman         Offer Letter by and between         $0
                                9418 Park Lake Dr         the Company and Kristen
                              Pinellas Park, FL 33782    Eckman, dated October 19,
                                                                    2022.
        ICON Aircraft, Inc.     Landmark American            Insurance Agreement             $0
                                Insurance Company
                                      (RSUI)
                               945 E. Paces Ferry Rd.
                                     Suite 1800
                                 Atlanta, GA 30325
        ICON Aircraft, Inc.       Lauren Herbert         Pilot Services Agreement by         $0
                                14514 SE 196th PL         and between the Company
                                Renton, WA 98058          and Lauren Herbert, dated
                                                               October 10, 2023.

        ICON Aircraft, Inc.    Leonard Patton (Patton     Non-Disclosure Agreement           $0
                                      Aviation)               by and between the
                                 2491 Overlook Dr           Company and Leonard
                                Billings, MT 59105         Patton (Patton Aviation),
                                                             dated July 12, 2019.
        ICON Aircraft, Inc.   Liberty Mutual Insurance       Insurance Agreement             $0
                                      Company
                                175 Berkeley Street
                                 Boston, MA 2116
        ICON Aircraft, Inc.   Lloyd's Syndicate 0609         Insurance Agreement             $0
                                       AUW
                                 One Lime Street
                               London, EC3M 7HA


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        ICON Aircraft, Inc.     Luke A. Christian          Pilot Services Agreement by      $0
                                 4730 32nd Ave              and between the Company
                                Seattle, WA 98118          and Luke A. Christian, dated
                                                                  March 5, 2021.

        ICON Aircraft, Inc.        M1 Aviation              Non-Disclosure Agreement        $0
                                 12506 Mixson Dr               by and between the
                                 Austin, TX 78732           Company and M1 Aviation,
                                                             LLC, dated January 19,
                                                                     2023.
        ICON Aircraft, Inc.     M1 Aviation, LLC               M1 Aviation (RYW)            $0
                                12506 Mixson Dr
                                Austin, TX 78732
        ICON Aircraft, Inc.     Malcolm Dickision          Pilot Services Agreement by      $0
                                 69 Auldwood Rd             and between the Company
                                Stamford, CT 6902            and Malcolm Dickinson,
                                                               dated July 18, 2022.

        ICON Aircraft, Inc.   Maldinado Medina Luis             Aircraft Purchase           $0
                                      Ramon                Agreement, dated as of May
                              2575 Caminito Muirfield       27, 2022, by and between
                                La Jolla, CA 92037              the Company and
                                                            Maldonado Medina Luis
                                                                     Ramon.
        ICON Aircraft, Inc.      Mandy Chung               Offer Letter by and between      $0
                                828 Tegner Drive            the Company and Mandy
                                Monterey Park, CA          Chung, dated September 21,
                                     91755                            2017.
        ICON Aircraft, Inc.    Manning Group, LLC            Consultant Agreement by        $0
                                9721 Inspiration St         and between the Company
                                Lenexa, KS 66227            and Manning Group, LLC,
                                                              dated March 2, 2022.
        ICON Aircraft, Inc.       Maria Odena              Offer Letter by and between      $0
                                212 Marin Court             the Company and Maria
                               Vacaville, CA 95687          Odena, dated January 21,
                                                                      2022.




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        ICON Aircraft, Inc.       Marleo Dedace            Offer Letter by and between      $0
                              898 New Bedford Place         the Company and Marleo
                                Fairfield, CA 94533        Dedace, dated June 3, 2023.

        ICON Aircraft, Inc.       Marlon Mallari           Offer Letter by and between      $0
                                  410 Madison St            the Company and Marlon
                                Fairfield, CA 94533           Mallari, dated May 31,
                                                                       2023.
        ICON Aircraft, Inc.         Marsh LLC                  Insurance Agreement          $0
                              633 W. Fifth Street, Suite
                                       1200
                               Los Angeles, CA 90071

        ICON Aircraft, Inc.    McClymond Aviation,            McClymond Aviation            $0
                                       LLC                         (KGJT)
                                2874 Aviators Way
                                Grand Junction, CO
                                      81506
        ICON Aircraft, Inc.       Megan Bahls              Offer Letter by and between      $0
                               1437 East Aspen Ave          the Company and Megan
                                Gilbert, AZ 85234           Bahls, dated September 1,
                                                                      2021.
        ICON Aircraft, Inc.     Melchor Pananganan         Offer Letter by and between      $0
                                840 Syracuse Drive         the Company and Melchor
                                Vacaville, CA 95687         Pananganan, dated July 7,
                                                                      2023.
        ICON Aircraft, Inc.     Meyerflyer Aviation         Non-Disclosure Agreement        $0
                                       LLC                     by and between the
                                 1945 Riviera Dr.           Company and Meyerflyer
                                Redding, CA 96001             Aviation LLC, dated
                                                                February 9, 2024.
        ICON Aircraft, Inc.       Michael Zajac             Consultant Agreement by         $0
                              1500 Manhattan Ave, B         and between the Company
                               Hermosa Beach, CA             and Michael Zajac, dated
                                     90254                    February 15, 2022 (the
                                                                “Zajac Consultant
                                                                  Agreement”).




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        ICON Aircraft, Inc.         Microsoft                    Aircraft License and         $0
                                 1 Microsoft Way             Marketing Agreement, dated
                               Redmond, WA 98052-            as of May 30, 2019, by and
                                      6399                       between Microsoft
                                                                 Corporation and the
                                                              Company, as amended by
                                                                   that certain First
                                                               Amendment to Aircraft
                                                               License and Marketing
                                                             Agreement upon execution
                                                                        thereof.

        ICON Aircraft, Inc.    Mid Island Air Service         Non-Disclosure Agreement        $0
                                  101 Hering Dr                   by and between the
                              Ronkonkoma, NY 11779             Company and Mid Island
                                                              Air Service, dated July 15,
                                                                        2019.
        ICON Aircraft, Inc.    Mid Island Air Service           Mid Island Air Service        $0
                                  101 Hering Dr
                              Ronkonkoma, NY 11779

        ICON Aircraft, Inc.    Miguel Padilla Perez          Offer Letter by and between      $0
                                  2015 17TH ST                the Company and Miguel
                              Sacramento, CA 95818              Padilla (also known as
                                                             Miguel Padilla Perez), dated
                                                                    May 15, 2023.

        ICON Aircraft, Inc.    Million Air San Juan          Non-Disclosure Agreement         $0
                                DBA Propilot LLC                 by and between the
                               Lot 10 South Side Isla         Company and Million Air
                                  Grande Airport               San Juan DBA Propilot
                                San Juan, PR 00907           LLC, dated March 12, 2020.

        ICON Aircraft, Inc.    National Union Fire               Insurance Agreement          $0
                              Insurance Company of
                                  Pittsburgh, PA
                                 1271 Ave. of the
                                 Americas, Fl. 37
                              New York, NY 10020-
                                       1304


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        ICON Aircraft, Inc.      Neptune Aviation          Non-Disclosure Agreement           $0
                                4301 Corporate Way            by and between the
                                Missoula, MT 59808          Company and Neptune
                                                            Aviation, dated July 12.
                                                                     2029.
        ICON Aircraft, Inc.      Neptune Aviation               Neptune Aviation              $0
                                4301 Corporate Way
                                Missoula, MT 59808
        ICON Aircraft, Inc.        Noah Collins           Offer Letter by and between         $0
                               3999 Crown Point Dr          the Company and Noah
                                       #29                Collins, dated December 6,
                               San Diego, CA 92109                   2017.
        ICON Aircraft, Inc.       Noel Hurtado            Offer Letter by and between         $0
                                 1590 Tilia Street          the Company and Noel
                                     Apt 252              Hurtado, dated February 23,
                                 Davis, CA 95616                     2023.
        ICON Aircraft, Inc.        Norm Conner            Non-Disclosure Agreement            $0
                               11804 Interlaaken Dr          by and between the
                                       SW                 Company and Norm Conner,
                               Lakewood, WA 98498           dated March 29, 2024.

        ICON Aircraft, Inc.   NorthWest Flight Service     Non-Disclosure Agreement           $0
                                   5503 E Rutter               by and between the
                               Spokane, WA 99212            Company and NorthWest
                                                           Flight Service, dated July 3,
                                                                      2019.
        ICON Aircraft, Inc.   NorthWest Flight Service      NorthWest Flight Service        3,922.64
                                   5503 E Rutter
                               Spokane, WA 99212

        ICON Aircraft, Inc.   Paragon Aircraft Service,    Paragon Aircraft Services,         $0
                                         Inc.                        Inc.
                                   19 Wright Way
                                 Fairfield, NJ 07004




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        ICON Aircraft, Inc.      Paragon Aircraft           Non-Disclosure Agreement           $0
                                      Services                  by and between the
                                  19 Wright Way                Company and Paragon
                                Fairfield, NJ 07004         Aircraft Services, Inc., dated
                                                                 February 4, 2020.
        ICON Aircraft, Inc.   Patrick "Andy" Jackson        Offer Letter by and between        $0
                                860 San Carlos Rd            the Company and Patrick
                                     Bldg 3260                “Andy” Jackson, dated
                               Pensacola, FL 32508                March 8, 2018.
        ICON Aircraft, Inc.    Patton Aviation, LLC          Leonard Patton, having its        $0
                                2491 Overlook Dr            principal place of business at
                                Billings, MT 59105              Patton Aviation, LLC
        ICON Aircraft, Inc.        Paul Nyhart              Offer Letter by and between        $0
                               6320 Orange Street #6          the Company and Paul
                              Los Angeles, CA 90048         Nyhart, dated November 2,
                                                                       2018.
        ICON Aircraft, Inc.       Peter Roberts                  Aircraft Operating            $0
                                15 Prospect Ave.                    Agreements
                               Scituate, MA 02066
        ICON Aircraft, Inc.    Phoenyx Aviation              Phoenyx Aviation Services         $0
                                Services (KBPT)                      (KBPT)
                                 455 Keith Rd
                              Beaumont, TX 77713
        ICON Aircraft, Inc.   Propel Aviation Sales &        Non-Disclosure Agreement          $0
                                     Services                   by and between the
                               14300 SW 129 Street,            Company and Propel
                                     Suite 101               Aviation Sales & Services,
                                 Miami, FL 33186             LLC, dated July 15, 2019.
        ICON Aircraft, Inc.       Propilot, LLC              Million Air San Juan DBA        4,215.00
                              Lot 10 South Side Isla               Propilot LLC
                                 Grande Airport
                               San Juan, PR 00907
        ICON Aircraft, Inc.       Rafael Crispin            Offer Letter by and between        $0
                                   Alejandrino               the Company and Rafael
                                2950 Portage Bay            Crispin Alejandrino, dated
                               W. Davis, CA 95616-             December 18, 2023.
                                      2830




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        ICON Aircraft, Inc.     Randy R. Penning          Offer Letter by and between      $0
                                 3817 Regent Rd           the Company and Randy R.
                              Sacramento, CA 95821        Penning, dated October 28,
                                                                     2015.
        ICON Aircraft, Inc.     Republic – Vanguard           Insurance Agreement          $0
                              Insurance Company, An
                                 Amtrust Financial
                                     Company
                                800 Superior Ave E.,
                                     21st Floor
                               Cleveland, OH 44114
        ICON Aircraft, Inc.       Rhenz Aquino            Offer Letter by and between      $0
                               1417 Prospect Way           the Company and Rhenz
                              Suisun City, CA 94585       Aquino, dated September 8,
                                                                     2021.
        ICON Aircraft, Inc.    Richard Bookbinder          Consultant Agreement by         $0
                              9930 North Loper Road        and between the Company
                                Prescott Valley, AZ         and Richard Bookbinder,
                                    86315-0120                dated March 1, 2024.

        ICON Aircraft, Inc.    Richard T Violette Jr           Aircraft Purchase           $0
                              12651 International Dr      Agreement, dated as of April
                                Orlando, FL 32821         8, 2024, by and between the
                                                          Company and Heli-Partners
                                                                     LLC.
        ICON Aircraft, Inc.        Rick Spinner                Aircraft Operating          $0
                              7402 Palmer Glen Circle             Agreements
                                Sarasota, FL 34240

        ICON Aircraft, Inc.      Robby Bonanno              Consultant Agreement by        $0
                               785 Oakmeade Drive          and between the Company
                               Vacaville, CA 95687         and Robby Bonanno, dated
                                                               October 10, 2022.
        ICON Aircraft, Inc.     Roberto N. Arantes         Non-Disclosure Agreement        $0
                                  393 Molly Ln                by and between the
                                Lindale, TX 75771           Company and Roberto N.
                                                           Arantes, dated February 27,
                                                                      2024.


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        ICON Aircraft, Inc.   Robins Aircraft CO d/b/a       Distribution Agreement,        $0
                                   ICON Korea               dated as of August 5, 2022,
                                   PO Box 8672                  by and between the
                                Warner Robins, GA              Company and Robins
                                      31095                  Aircraft CO d/b/a ICON
                                                                      Korea.
        ICON Aircraft, Inc.       Rodolfo Correa           Offer Letter by and between      $0
                                44 Gaviota Avenue           the Company and Rodolfo
                              Long Beach, CA 90802            Correa (also known as
                                                           Rodolfo Henrique Correa),
                                                               dated March 2, 2015.

        ICON Aircraft, Inc.       Ronald Hubble            Pilot Services Agreement by      $0
                                  804 E 40th Ave            and between the Company
                                Spokane, WA 99203           and Ronald Hubble, dated
                                                                 October 5, 2023.

        ICON Aircraft, Inc.     Rong (Kino) Fan            Offer Letter by and between      $0
                               1478 Limewood Rd              the Company and Rong
                               West Sacramento, CA         (Kino) Fan, dated June 25,
                                      95691                           2019.
        ICON Aircraft, Inc.         Ryan Sims              Offer Letter by and between      $0
                                   5717 Calle Ln             the Company and Ryan
                                        #D                 Sims, dated September 26,
                               Sacramento, CA 95841                   2018.
        ICON Aircraft, Inc.        Ryuya Iwase             Offer Letter by and between      $0
                                2477 Sycamore Lane          the Company and Ryuya
                               Davis, CA 95616-5566        Iwase, dated December 18,
                                                                      2023.
        ICON Aircraft, Inc.        Salesforce, Inc.         Salesforce, Inc. Order Form     $0
                                   415 Mission St               (Quote Number: Q-
                                      3rd Floor             07523781), dated as of July
                              San Francisco, CA 94105        28, 2023 (The “Salesforce
                                                                   Order Form”).
        ICON Aircraft, Inc.         Sam Striplin           Offer Letter by and between      $0
                                 1047 Uplands Dr             the Company and Sam
                                El Dorado Hills, CA         Striplin, dated August 26,
                                      95762                            2015.


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        ICON Aircraft, Inc.    SANDPIPER AIR INC         Non-Disclosure Agreement         $0
                                 1513 Airport Rd            by and between the
                              New Bedford, MA 02746      Company and SANDPIPER
                                                         AIR INC, dated November
                                                                 20, 2019.
        ICON Aircraft, Inc.      Sandpiper Air Inc          SANDPIPER AIR INC             $0
                                 1513 Airport Rd
                              New Bedford, MA 02746

        ICON Aircraft, Inc.    SBI Aircraft Services      Non-Disclosure Agreement        $0
                              Laconia DBA Sky Bright          by and between the
                                  65 Aviation Way         Company and SBI Aircraft
                              Gilford, NH 03249-6680      Services Laconia DBA Sky
                                                           Bright, dated January 16,
                                                                     2020.
        ICON Aircraft, Inc.    SBI Aircraft Services        SBI Aircraft Services         $0
                                 Laconia, DBA Sky         Laconia, DBA Sky Bright
                                       Bright
                                  65 Aviation Way
                              Gilford, NH 03249-6680

        ICON Aircraft, Inc.      Scott Rodenbeck         Offer Letter by and between      $0
                                 125 Lakeside Dr           the Company and Scott
                                Oldsmar, FL 34677        Rodenbeck (also known as
                                                         William Rodenbeck), dated
                                                             December 8, 2017.

        ICON Aircraft, Inc.     Sea Wings Aviation        Sea Wings Aviation AKA          $0
                              Aeropuerto Internacional   Aeropuerto Internacional La
                               La Isabela Dr Joaquin              Isabela
                               Balanguer Hangar 41
                                          ,




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        ICON Aircraft, Inc.     Sea Wings Aviation          Non-Disclosure Agreement           $0
                                  AKA Aeropuerto                by and between the
                              Internacional La Isabela       Company and Sea Wings
                                         ,                  Aviation AKA Aeropuerto
                                                             Internacional La Isabela,
                                                             dated February 26, 2024.


        ICON Aircraft, Inc.       Sean E Stamps            Offer Letter by and between         $0
                                13773 Celestial Rd          the Company and Sean E.
                                Poway, CA 92064               Stamps, dated June 26,
                                                                      2019.
        ICON Aircraft, Inc.      Security Aviation          Security Aviation (KHHR)           $0
                                     (KHHR)
                               Hawthorne Municipal
                                      Airport
                                12016 South Prairie
                                      Avenue
                               Hawthorne, CA 90250
        ICON Aircraft, Inc.      Security Aviation          Non-Disclosure Agreement           $0
                                    (KHHR).                    by and between the
                               Hawthorne Municipal           Company and Security
                                     Airport                   Aviation (KHHR).
                                12016 South Prairie
                                     Avenue
                               Hawthorne, CA 90250
        ICON Aircraft, Inc.    Shapeways Holdings,           Agreement, dated as of         $1,496.80
                                       Inc.                 October 26, 2021, by and
                              Attn: Legal Department        between the Company and
                                  228 Park Ave S            Shapeways Holdings, Inc.
                                    PMB 15839                   (the “Shapeways
                              New York, NY 10003                  Agreement”).
        ICON Aircraft, Inc.       Sho Koshijima                 Aircraft Purchase              $0
                              2-2-15 Hamamatuchou            Agreement, dated as of
                              Minato City, Tokyo 105-       February 25, 2021, by and
                                       0013                 between the Company and
                                                                  A5AIR, Inc.




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        ICON Aircraft, Inc.       Sho Koshijima                Aircraft Purchase           $0
                              2-2-15 Hamamatuchou           Agreement, dated as of
                              Minato City, Tokyo 105-      February 25, 2021, by and
                                       0013                between the Company and
                                                                 A5AIR, Inc.
        ICON Aircraft, Inc.       Sho Koshijima                Aircraft Purchase           $0
                              2-2-15 Hamamatuchou           Agreement, dated as of
                              Minato City, Tokyo 105-      February 25, 2021, by and
                                       0013                between the Company and
                                                                 A5AIR, Inc.
        ICON Aircraft, Inc.    Silverhawk Aviation            Silverhawk Aviation          $0
                               1751 W Kearney Ave                   (KLNK)
                                Lincoln, NE 68524
        ICON Aircraft, Inc.        Simi Gupta             Offer Letter by and between      $0
                                400 Esther Avenue           the Company and Simi
                               Campbell, CA 95008          Gupta, dated February 17,
                                                                     2016.
        ICON Aircraft, Inc.        Skyryse, Inc.               Aircraft Operating          $0
                              777 S. Aviation Blvd.               Agreements
                              El Segundo, CA 90245
        ICON Aircraft, Inc.        Skyryse, Inc.           Purchase Order Agreement,       -
                              777 S. Aviation Blvd.         dated as of December 7,
                              El Segundo, CA 90245            2020, by and between
                                                           Company and Skyryse, Inc.
                                                             (the “Skyryse Purchase
                                                               Order Agreement”).


        ICON Aircraft, Inc.   Slabtown Creative LLC        Consultant Agreement by         $0
                               4350 SW 107th Ave           and between the Company
                               Beaverton, OR 97705             and SLABTOWN
                                                            CREATIVE LLC, dated
                                                                March 2, 2022.




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        ICON Aircraft, Inc.    Sompo International            Insurance Agreement          $0
                                     Insurance
                                    Commercial
                               Management Liability
                              Attn: Professional Lines
                                   Underwriting
                                    Department
                               1221 Avenue of The
                                     Americas
                               New York, NY 10020

        ICON Aircraft, Inc.     Starr Indemnity &             Insurance Agreement          $0
                                   Liability Co.
                                 399 Park Avenue
                               New York, NY 10022
        ICON Aircraft, Inc.    Starr Surplus Lines Ins        Insurance Agreement          $0
                                Co via Starr Aviation
                                  399 Park Avenue
                                      2nd Floor
                               New York, NY 10022
        ICON Aircraft, Inc.       Steven Bletsch          Offer Letter by and between      $0
                                  11929 Dietz Dr            the Company and Steven
                                 Tampa, FL 33626          Bletsch, dated November 11,
                                                                      2021.
        ICON Aircraft, Inc.   Streamline Designs, LLC     Proposal, Primary Category       $0
                               1726 S. Centerline Rd       Certification, Model A5,
                                 Franklin, CA 46131        dated as of November 8,
                                                           2019, by and between the
                                                           Company and Streamline
                                                          Designs, LLC., as amended
                                                             by Proposal, Primary
                                                            Category Certification,
                                                           Model A5 (Amendment,
                                                          Refreshed), dated as of June
                                                           16, 2023, by and between
                                                               the Company and
                                                           Streamline Designs, LLC
                                                                (the “Streamline
                                                           Certification Proposal”).




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        ICON Aircraft, Inc.   Streamline Designs, LLC     Proposal, Ongoing                 $0
                               1726 S. Centerline Rd    Technical Publications
                                 Franklin, CA 46131   Development Support, 2024,
                                                       dated as of December 26,
                                                       2023, by and between the
                                                       Company and Streamline
                                                          Designs, LLC (the
                                                         “Streamline Support
                                                              Proposal”).

        ICON Aircraft, Inc.     Suzanne Clavette           Pilot Services Agreement by      $0
                               4746 Foxshire Circle         and between the Company
                                Tampa, FL 33624            and Suzanne Clavette, dated
                                                               September 25, 2023.

        ICON Aircraft, Inc.     TacAero Elite LLC          Non-Disclosure Agreement         $0
                                  465 Airport Rd              by and between the
                                Fredericksburg, TX         Company and TacAero Elite
                                      78624                  LLC, dated October 26,
                                                                     2023.
        ICON Aircraft, Inc.    Tango November LLC            Consultant Agreement by        $0
                               Attn: Trenace Burrows         and between the Company
                                114 Coffman Drive           and Tango November LLC,
                                Pikeville, NC 27863         dated January 25, 2024 (the
                                                                 “Tango November
                                                              Consultant Agreement”).
        ICON Aircraft, Inc.        Terry Hayes             Pilot Services Agreement by      $0
                                1893 Stallion Way           and between the Company
                              Angels Camp, CA 95222           and Terry Hayes, dated
                                                                 October 13, 2023.
        ICON Aircraft, Inc.      Theodore Coldren          Offer Letter by and between      $0
                                 731 Grand Circle          the Company and Theodore
                                Temple Terrace, FL          Coldren, dated November
                                      33617                         18, 2022.
        ICON Aircraft, Inc.       Thomas Beattie           Pilot Services Agreement by      $0
                              273 Willow Green Way          and between the Company
                               Vacaville, CA 95687          and Thomas Beattie, dated
                                                                  March 23, 2023.




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        ICON Aircraft, Inc.      Thomas Horgan              Severance Agreement by         $0
                               435 Windward Way            and between the Company
                              Sacramento, CA 95831         and Thomas Horgan, dated
                                                                 May 26, 2020.
        ICON Aircraft, Inc.        Tom Horgan             Offer Letter by and between      $0
                               3505 Norris Avenue           the Company and Tom
                              Sacramento, CA 95821          Horgan, dated May 23,
                                                                     2014.
        ICON Aircraft, Inc.     Tom Wood Aviation          Non-Disclosure Agreement        $0
                               9913 Willow View Rd            by and between the
                                 Fishers, IN 46038         Company and Tom Wood
                                                           Aviation, dated January 24,
                                                                      2020.
        ICON Aircraft, Inc.     Tom Wood Aviation             Tom Wood Aviation            $0
                               9913 Willow View Rd                (KUMP)
                                 Fishers, IN 46038
        ICON Aircraft, Inc.       Tony Pollizzi           Pilot Services Agreement by      $0
                                3203 Burlwood Ct           and between the Company
                                Rocklin, CA 95765           and Tony Pollizzi, dated
                                                                August 29, 2022.

        ICON Aircraft, Inc.   Travel Express Aviation     Non-Disclosure Agreement         $0
                                   Maintenance               by and between the
                                 3N060 Powis Rd             Company and Travel
                              West Chicago, IL 60185          Express Aviation
                                                          Maintenance, dated July 22,
                                                                    2019.
        ICON Aircraft, Inc.   Travel Express Aviation       Travel Express Aviation        $0
                                 Maintenance, Inc.               Maintenance
                                 3N060 Powis Rd
                              West Chicago, IL 60185

        ICON Aircraft, Inc.     Travelers Indemnity           Insurance Agreement          $0
                              Company of Connecticut
                                One Tower Square
                                 Hartford, CT 6183




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        ICON Aircraft, Inc.     Travelers Property             Insurance Agreement          $0
                               Casualty Company of
                                     America
                                One Tower Square
                                Hartford, CT 6183
        ICON Aircraft, Inc.   Trenace (Naci) Burrows       Trenance_Burrows_ICON_           $0
                                 245 W Pine Ave.           Aircraft_Consulting_Agree
                                 Roselle, IL 60172                   ment_-
                                                           _Amendment_05.04.23__nc
                                                                      .pdf
        ICON Aircraft, Inc.        TriStar Inc.             Services Support Package        $0
                                3740 E La Salle St         Terms and Conditions, dated
                                Phoenix, AZ 85040            as of October 2, 2023, by
                                                            and between the Company
                                                                  and TriStar Inc.
        ICON Aircraft, Inc.        Troy Mutter                  Aircraft Operating          $0
                                12309 Capella Trail                Agreements
                                 Austin, TX 78732
        ICON Aircraft, Inc.     Twin Cities Aviy            Non-Disclosure Agreement        $0
                              9833 N Airport Rd NE             by and between the
                                     Ste 101                Company and Twin Cities
                                Blaine, MN 55449            Aviy, dated July 11, 2019.

        ICON Aircraft, Inc.     Twin Cities Aviy                Twin Cities Aviy            $0
                              9833 N Airport Rd NE
                                     Ste 101
                                Blaine, MN 55449
        ICON Aircraft, Inc.   Twin Cities Malibu LLC       Pilot Services Agreement by      $0
                                 215 10th Ave S             and between the Company
                                     Unit 711                 and Twin Cities Malibu
                              Minneapolis, MN 55415         LLC, dated April 10, 2023.



        ICON Aircraft, Inc.     Victor M Ballestas              Aircraft Purchase           $0
                                 421 E Dilido Dr             Agreement, dated as of
                              Miami Beach, FL 33139          January 3, 2022, by and
                                                            between the Company and
                                                             Perseus Ventures, LLC.


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        ICON Aircraft, Inc.    Victory Lane Aviation         Non-Disclosure Agreement           $0
                               9200 B Aviation Blvd             by and between the
                                Concord, NC 28027            Company and Victory Lane
                                                             Aviation, LLC, dated July
                                                                     19, 2019.
        ICON Aircraft, Inc.   Victory Lane Aviation,        Victory Lane Aviation, LLC       $2,437.83
                                       LLC
                              9200 B Aviation Blvd
                               Concord, NC 28027
        ICON Aircraft, Inc.     Vortex Aviation              Non-Disclosure Agreement           $0
                                Maintenance Inc.                by and between the
                                 PO Box 250448                 Company and Vortex
                               Aguadilla, PR 00604           Aviation Maintenance Inc.,
                                                               dated March 4, 2020.
        ICON Aircraft, Inc.     Vortex Aviation                   Vortex Aviation               $0
                                Maintenance Inc.                  Maintenance Inc.
                                 PO Box 250448
                               Aguadilla, PR 00604
        ICON Aircraft, Inc.   Waterford Aviation Inc.        Non-Disclosure Agreement           $0
                                6548 Highland Rd                by and between the
                                     Ste 900                  Company and Waterford
                               Waterford, MI 48327           Aviation Inc., dated August
                                                                      29, 2019.
        ICON Aircraft, Inc.   Waterford Aviation, Inc.        Waterford Aviation, Inc.          $0
                                6548 Highland Rd
                                     Ste 900
                               Waterford, MI 48327

        ICON Aircraft, Inc.      Wright Aviation              Wright Aviation (KDXR)            $0
                                    (KDXR)
                                 81 Kenosia Ave
                                Danbury, CT 06810
        ICON Aircraft, Inc.    Advantage Aviation                 Memorandum of                 $0
                               7220 S 4450 W West             Understanding, dated as of
                                Jordan UT - 84084                December 1, 2023




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        ICON Aircraft, Inc.   Advantage Aviation                 Memorandum of               $0
                              7220 S 4450 W West             Understanding Service and
                               Jordan UT - 84084               Support, dated as of
                                                                December 1, 2023
        ICON Aircraft, Inc     FlightLevel LLC,                   Memorandum of              $0
                                125 Access Rd,                Understanding, dated as of
                              Norwood, MA 02062                    May 22, 2018

        ICON Aircraft, Inc     FlightLevel LLC,                   Memorandum of              $0
                                125 Access Rd,                Understanding, dated as of
                              Norwood, MA 02062                   March 29, 2018

        ICON Aircraft, Inc.     Houston Aviation                  Memorandum of              $0
                                     Center,                  Understanding, dated as of
                              12888 Hwy 6S, Hangar                 July 22, 2019
                               104, Sugar Lane, TX
                                      77498
        ICON Aircraft, Inc.     Houston Aviation                  Memorandum of              $0
                                     Center,                  Understanding Service and
                              12888 Hwy 6S, Hangar           Support, dated as of May 30,
                               104, Sugar Lane, TX                       2018
                                      77498
        ICON Aircraft, Inc.    Meyerflyer Aviation                Memorandum of              $0
                                      LLC,                    Understanding, dated as of
                               1945 Riviera Drive,               February 9, 2024
                               Redding, CA 96001
        ICON Aircraft, Inc.    Meyerflyer Aviation               Memorandum of               $0
                                     LLC,                    Understanding Service and
                               1945 Riviera Drive,          Support, dated as of February
                               Redding, CA 96001                       9, 2024
        ICON Aircraft, Inc.      Norm Conner,                     Memorandum of              $0
                              11804 Interlaaken Dr.,          Understanding, dated as of
                               SW, Lakewood, WA                   March 29, 2024
                                     98498
        ICON Aircraft, Inc.      Norm Conner,                    Memorandum of               $0
                              11804 Interlaaken Dr.,         Understanding Service and
                               SW, Lakewood, WA              Support, dated as of March
                                     98498                            29, 2024




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        ICON Aircraft, Inc.   Propel Aviation Sales &            Memorandum of              $0
                                     Services,               Understanding, dated as of
                               12800 SW 139th Ave,                May 13, 2020
                                 Miami FL 33186
        ICON Aircraft, Inc.     Roberto N Arantes                Memorandum of              $0
                                  393 Molly Ln,              Understanding, dated as of
                                Lindale TX 75771                February 27, 2024

        ICON Aircraft, Inc.     Roberto N Arantes               Memorandum of               $0
                                  393 Molly Ln,             Understanding Service and
                                Lindale TX 75771           Support, dated as of February
                                                                     27, 2024
        ICON Aircraft, Inc.     TacAero Elite LLC                Memorandum of              $0
                                 465 Airport Road,           Understanding, dated as of
                                Fredericksburg, TX,             October 26, 2023
                                       78624
        ICON Aircraft, Inc.     TacAero Elite LLC                Memorandum of              $0
                                 465 Airport Road,           Understanding Service and
                                Fredericksburg, TX,         Support, dated as of October
                                       78624                          26, 2023




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